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AO 440 (Rev. A6n2) Summons in a Civil Action (Page 2)

 Civil Action No. 8:13CV1322 MWF AJWx

                                                       PROOF OF SER\IICE
                       (This section shoald not befiled with the coufi unless required by Fed R Ciu P. 4 (l))

           This summons for fuame af individual and title, ,f a"y) Giant Ape Media
 was received by me on (date)                  08. 27 .2013

         )Ol I personally served the summons on the individual at(place) 1200 Lakeside parkway, Bldg. 1
          Flower Mound, TX 75028                                                on {date) 08.       28.2013           ; or

           D I left the summons at the individual's residence or usual place of abodevuith (nane)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                              , and mailed aaopy to the individual's last known address; or

       >06[ I served the summons on (name of individunt) Gen Fukunaga                                                          , who is
           designated by law to accept service ofprocess on behalf of (name of organization) Giant Ape Media
                                                             Flower Mound
                                                                    --Tf -- an (date)
             1200 Lakeside Parlsto?ay, g1dg.- 1- --                                          08. 28.2AL3              ;or
           t I refurned the surnfilons unexecuted because                                                                           ;or
           t Other (specffi

           My fees are $                          for travel and $                   for services, for a total of $          0.00


           I declare under penalfy of perjury thrt this inforrnation is true.


Date: 08. 28. 13
                                                                                          Server's signature


                                                                                         Linda Kalrnbach
                                                                                        Printed name and title
                                                                     P.O. Box 270702
                                                                     Flwoer lt{rcund, TD<as 75027

                                                                                           Server's address


Additional information regarding attempted service, etc:
